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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                         MDL 2724
IN RE: GENERIC PHARMACEUTICALS
                                                         16-MD-2724
PRICING ANTITRUST LITIGATION
                                                         HON. CYNTHIA M. RUFE


THIS DOCUMENT RELATES TO:
                                                        Civ. Action No. 2:20-cv-03539
State of Connecticut et al. v. Sandoz, Inc. et al.


                      NOTICE OF WITHDRAWAL OF APPEARANCE

       Pursuant to Local Rule 5.1(c), the undersigned, Mark H.M. Sosnowsky, hereby submits

his Withdrawal of Appearance as counsel for Defendant John Wesolowski in the above-

captioned matter. Charles S. Leeper, Kenneth M. Vorrasi, and Alison M. Agnew will continue

to represent Defendant John Wesolowski and he will not be without representation in this matter.



Dated: December 16, 2022                             Respectfully submitted,

                                                     /s/ Mark H.M. Sosnowsky
                                                     Mark H.M. Sosnowsky
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                                                     Counsel for Defendant John Wesolowski
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 16th day of December, 2022, a true and correct copy of the

foregoing was filed and served electronically by the Court’s CM/ECF system upon all registered

users in this action.

                                                     /s/ Mark H.M. Sosnowsky
                                                     Mark H.M. Sosnowsky
